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United States District Court
Central District of California

 

 

UNITED STATES OF AMERICA ys. Docket No. ED CR 19-00099-FMO-1
Defendant MATTHEW GENE WINFREY Social Security No._1. _3. 4 _8
akas: _“Dice” (Last 4 digits)

 

MONTH DAY YEAR

 

 

In the presence of the attorney for the government, the defendant appeared in person on this date. 04 22 2021
COUNSEL | Kate L. Morris, Deputy Federal Public Defender

 

(Name of Counsel)

PLEA | k] GUILTY, and the court being satisfied that there is a factual basis for the plea. [ | NOLO [ | NOT
CONTENDERE GUILTY

FINDING | There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

Count 1: Conspiracy to Possess with Intent to Distribute and to Distribute Methamphetamine
21 U.S.C. §§ 846, 841(b)(1)(A)(viii)

JUDGMENT] The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the

AND PROB/ | contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
COMM Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
ORDER __| custody of the Bureau of Prisons to be imprisoned for a term of: 120 months.

 

Defendant Matthew Gene Winfrey (“defendant”) is committed to the custody of the Bureau of Prisons
on Count One (1) of the Indictment for a term of 120 months. The court recommends that defendant be placed
at the federal correctional facility in El Reno, Oklahoma and that defendant be allowed to participate in the
500-hour Residential Drug Abuse Program.

Upon release from imprisonment, defendant shall be placed on supervised release for a term of five (5)
years, under the following terms and conditions:

1. Defendant shall comply with the rules and regulations of the United States Probation & Pretrial
Services Office and the Second Amended General Order 20-04.

os Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit
to one drug test within 15 days of release from custody and at least two periodic drug tests
thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

3. Defendant shall participate in an outpatient substance abuse treatment and counseling program
that includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer.
Defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
medications during the period of supervision.

4. As directed by the Probation Officer, defendant shall pay all or part of the costs of the
Court-ordered treatment to the aftercare contractors during the period of community supervision.
Defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
defendant has no ability to pay, no payment shall be required.

 

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5. During the period of community supervision, defendant shall pay the special assessment in
accordance with this judgment's orders pertaining to such payment.

6. Defendant shall cooperate in the collection of a DNA sample from defendant.

ts Defendant shall submit his person, property, house, residence, vehicle, papers, or other areas
under the defendant’s control, to a search conducted by a United States Probation Officer or law
enforcement officer. Failure to submit to asearch may be grounds for revocation. Defendant shall
warn any other occupants that the premises may be subject to searches pursuant to this condition.
Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable
manner upon reasonable suspicion that defendant has violated a condition of his supervision and
that the areas to be searched contain evidence of this violation.

Defendant shall pay to the United States a special assessment of $100, which is due immediately. Any
unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. All fines are waived as the court
finds defendant is unable to pay and is not likely to become able to pay any fine.

Upon motion of the government, all remaining counts for this defendant are hereby dismissed.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

April 26, 2021 F etal W. Oley

Date U. S. District Judge
FERNANDO M. OLGUIN

 

 

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

Clerk, U.S. District Court

April 26, 2021 By __/s/ Vanessa Figueroa
Filed Date Deputy Clerk

 

 

 

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The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

1. The defendant must not commit another federal, state, or local
crime;

2. The defendant must report to the probation office in the federal
judicial district of residence within 72 hours of imposition of a
sentence of probation or release from imprisonment, unless
otherwise directed by the probation officer;

3. The defendant must report to the probation office as instructed by
the court or probation officer;

4. The defendant must not knowingly leave the judicial district
without first receiving the permission of the court or probation
officer;

5. The defendant must answer truthfully the inquiries of the probation
officer, unless legitimately asserting his or her Fifth Amendment
right against self-incrimination as to new criminal conduct;

6. ‘The defendant must reside at a location approved by the probation
officer and must notify the probation officer at least 10 days before
any anticipated change or within 72 hours of an unanticipated
change in residence or persons living in defendant’s residence;

7. The defendant must permit the probation officer to contact him or
her at any time at home or elsewhere and must permit confiscation
of any contraband prohibited by law or the terms of supervision and
observed in plain view by the probation officer;

8. The defendant must work at a lawful occupation unless excused by
the probation officer for schooling, training, or other acceptable
reasons and must notify the probation officer at least ten days
before any change in employment or within 72 hours of an
unanticipated change;

9.

The defendant must not knowingly associate with any persons engaged
in criminal activity and must not knowingly associate with any person
convicted ofa felony unless granted permission to do so by the probation
officer. This condition will not apply to intimate family members, unless
the court has completed an individualized review and has determined
that the restriction is necessary for protection of the community or
rehabilitation;

The defendant must refrain from excessive use of alcohol and must not
purchase, possess, use, distribute, or administer any narcotic or other
controlled substance, or any paraphernalia related to such substances,
except as prescribed by a physician;

The defendant must notify the probation officer within 72 hours of being
arrested or questioned by a law enforcement officer;

For felony cases, the defendant must not possess a firearm, ammunition,
destructive device, or any other dangerous weapon;

The defendant must not act or enter into any agreement with a law
enforcement agency to act as an informant or source without the
permission of the court;

The defendant must follow the instructions of the probation officer to
implement the orders of the court, afford adequate deterrence from
criminal conduct, protect the public from further crimes of the
defendant; and provide the defendant with needed educational or
vocational training, medical care, or other correctional treatment in the
most effective manner.

 

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The defendant must also comply with the following special conditions (set forth below).

 

 

 

STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996, Assessments, restitution, fines, penalties, and costs must be paid by certified check
or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
Payments must be delivered to:

United States District Court, Central District of California
Attn: Fiscal Department

255 East Temple Street, Room 1178

Los Angeles, CA 90012

or such other address as the Court may in future direct.

If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)()(F).

The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
§ 3563(a)(7).

Payments will be applied in the following order:

1. Special assessments under 18 U.S.C. § 3013;
2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
States is paid):
Non-federal victims (individual and corporate),
Providers of compensation to non-federal victims,
The United States as victim:
3. Fine;
4, Community restitution, under 18 U.S.C. § 3663(c); and
5. Other penalties and costs.

CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
behalf.

The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

 

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RETURN

I have executed the within Judgment and Commitment as follows:

Defendant delivered on to

 

 

Defendant noted on appeal on

 

Defendant released on
Mandate issued on

 

 

Defendant’s appeal determined on

 

Defendant delivered on to

 

 

at

 

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

United States Marshal

By
Date Deputy Marshal

 

 

CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

 

FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)

 

 

Defendant Date

 

 

U. S. Probation Officer/Designated Witness Date

 

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